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 8                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
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                                           Case No.: 3:17-cv-1138-JAH-NLS
10    HUGO AGUILAR, individually and )
      on behalf of all others similarly  )
11                                         ORDER GRANTING JOINT
      situated,                          )
                                           MOTION FOR DISMISSAL OF
12                                       )
                                           ACTION WITH PREJUDICE AS TO
                              Plaintiff, )
13                                         THE NAMED PLAINTIFF AND
      v.                                 )
                                           WITHOUT PREJUDICE AS TO THE
14                                       )
                                           PUTATIVE CLASS
      GATESTONE & Co.,                   )
15
      INTERNATIONAL, INC., a New         )
16    Jersey LLC.                        )
                                         )
17
                              Defendant. )
18                                       )
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             Based upon the Joint Motion for Dismissal, and good cause appearing, IT
20
      IS HEREBY ORDERED that this action is dismissed with prejudice as to the
21
      named Plaintiff HUGO AGUILAR, and without prejudice as to the Putative Class.
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              IT IS SO ORDERED.
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      Dated: October 3, 2017
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                                                HON. JOHN A. HOUSTON
26                                              UNITED STATES DISTRICT JUDGE
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